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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION


 UNITED STATES OF AMERICA,                 )
                                           )
              vs.                          )       CAUSE NO. 3:08-CR-54 RM
                                           )
 KEVIN WRIGHT (1)                          )


                                       ORDER
       No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty issued on August 7, 2008 [Doc. No. 43].

 Accordingly, the court now ADOPTS those findings and recommendations,

 ACCEPTS defendant Kevin Wright’s plea of guilty, and FINDS the defendant guilty

 of Count 2 of the Indictment, in violation of 21 U.S.C. §§ 841(a)(1) and (b), 860 (a)

 and 18 U.S.C. § 2.

       SO ORDERED.

       ENTERED: August 28, 2008




                                               /s/ Robert L. Miller, Jr.
                                        Chief Judge
                                        United States District Court
